                                 Case 2:16-cv-08559-DOC-DFM Document 173 Filed 11/21/18 Page 1 of 33 Page ID #:6958



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                                                                  HOLLAND & KNIGHT LLP
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                                                                  New York, NY 10028
                                                             3    Tel: 212.513.3529
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                                                             5
                                                                  Stacey H. Wang (SBN 245195)
                                                             6    HOLLAND & KNIGHT LLP
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                                                                  Los Angeles, California 90071
                                                             8    Tel: 213.896.2400
                                                                  Fax: 213.896.2450
                                                             9    Email: stacey.wang@hklaw.com
                                                             10   Attorneys for Defendants
                                                                  VRS Design, Inc. and iSpeaker Co., Ltd.
                                                             11
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12
                         400 South Hope Street, 8th Floor




                                                                                      UNITED STATES DISTRICT COURT
Holland & Knight LLP

                              Los Angeles, CA 90071




                                                             13
                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                             14
                                                             15   SPIGEN KOREA CO., LTD., a Republic ) Case No: 2:16-cv-08559-DOC-DFM
                                                                  of Korea corporation,                ) Assigned to: Hon. David O. Carter
                                                             16                                        )
                                                                                  Plaintiff,           ) DEFENDANTS VRS DESIGN, INC.
                                                             17                                        ) AND ISPEAKER CO., LTD.’S
                                                                         v.                            ) NOTICE OF APPLICATION TO
                                                             18                                        ) THE CLERK TO TAX COSTS
                                                             19   ISPEAKER CO., LTD., a Republic of    )
                                                                  Korea corporation; VRS DESIGN, INC., )
                                                             20   a California corporation; DOES 1     )
                                                                  through 10, inclusive,               )
                                                             21                                        )
                                                             22                   Defendants.          )
                                                                                                       )
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                                                                          NOTICE OF APPLICATION TO THE CLERK TO TAX COSTS
                                 Case 2:16-cv-08559-DOC-DFM Document 173 Filed 11/21/18 Page 2 of 33 Page ID #:6959



                                                             1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                             2          PLEASE TAKE NOTICE that Defendants hereby give notice to the Clerk of
                                                             3    the Court to have the costs taxed and the amount set forth in the Bill of Costs
                                                             4    attached hereto.
                                                             5
                                                             6    Dated: November 21, 2018               Respectfully submitted,
                                                                                                         HOLLAND & KNIGHT LLP
                                                             7
                                                             8
                                                             9                                           By: /s/ Michael Eisenberg
                                                                                                             Michael B. Eisenberg (pro hac vice)
                                                             10                                              Stacey H. Wang
                                                             11                                              Attorneys for Defendants VRS Design,
                                                                                                             Inc. and iSpeaker Co., Ltd.
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12
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Holland & Knight LLP

                              Los Angeles, CA 90071




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                                                                          NOTICE OF APPLICATION TO THE CLERK TO TAX COSTS
      Case 2:16-cv-08559-DOC-DFM Document 173 Filed 11/21/18 Page 3 of 33 Page ID #:6960
                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                  Central District of California

                                                                         APPLICATION TO THE CLERK TO TAX COSTS

 Spigen Korea Co., Ltd.
                                                           V.                                                                                      Case Number:                         2:16-cv-08559-DOC-DFM
 iSpeaker Co., Ltd., et al.

Judgment was entered in this action on 11/07/2018 /                                                                                   171             against Spigen Korea Co., Ltd.                                                                        .
                                                                                                        Date                     Docket No.


    NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

 Filing fees: see L.R. 54-3.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Fees for service of process: see L.R. 54-3.2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 United States Marshal’s fees: see L.R. 54-3.3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 Reporter’s transcripts: see L.R. 54-3.4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               $2,157.74
 Depositions: see L.R. 54-3.5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   $1,538.71
 Witness fees (itemize on page 2): see L.R. 54-3.6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Interpreter’s and translator’s fees: see L.R. 54-3.7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Docket fees: see L.R. 54-3.8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Masters, commissioners and receivers: see L.R. 54-3.9 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       $15,572.50
 Certification, exemplification and reproduction of documents: see L.R. 54-3.10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                            $2,928.04
 Premiums on bonds and undertakings: see L.R. 54-3.11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Other Costs: see L.R. 54-3.12 (attach court order) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 State Court costs: see L.R. 54-3.13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Costs on appeal: see L.R. 54-4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Cost of a bankruptcy appeal to the District Court: see L.R. 54-5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                                                                                                                                                                                                                    TOTAL          $22,196.99

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✔ The Court's CM/ECF System

                                    Conventional service by first class mail
                                    Other

 /s/ Michael Eisenberg                                                                                                                                                           Michael B. Eisenberg
 Signature                                                                                                                                                                       Print Name

 Attorney for: Defendants VRS Design, Inc. and iSpeaker Co., Ltd.

 Costs are taxed in the amount of

                                                                                                                By:
Clerk of Court                                                                                                               Deputy Clerk                                                                                                   Date

CV-59 (12/14)                                                                                                                           BILL OF COSTS                                                                                               Page 1 of 2
    Case 2:16-cv-08559-DOC-DFM Document 173 Filed 11/21/18 Page 4 of 33 Page ID #:6961
                                WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                    ATTENDANCE            SUBSISTENCE           MILEAGE
                                                                                                                    Total Cost
                NAME, CITY AND STATE
                                                   Days                Days                           Total Cost   Each Witness
                                                          Total Cost           Total Cost   Miles




                                                                                                        TOTAL


CV-59 (12/14)                                             BILL OF COSTS                                                 Page 2 of 2
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                        USDC Central District of California
                 Spigen Korea Co., Ltd. V. iSpeaker Co. Ltd., et al.
                        Case No. 2:16-cv-08559-DOC-DFM


                              Bill of Costs Itemization



 Date          Vendor                                                  Amount

                                  Special Masters

 1/30/2018     Judicate West – Special Master Hon. Victor B. Kenton, $ 15,572.50
               Ret.

                                                              Total: $ 15,572.50

                              Depositions/Transcripts

 3/22/2018     Aiken Welch Court Reporting – Certified Transcript of   $ 907.41
               Deposition of Young Suk Chung

 3/23/2018     Aiken Welch Court Reporting – Certified Transcript of   $ 631.30
               Deposition of Kenneth Park

                                                              Total: $1,538.71

 3/23/2018     Epiq Court Reporting – Transcript of Telephonic 3-6-    $ 874.62
               2018 Hearing

 2/16/2018     Epiq Court Reporting – Transcript of Telephonic 1-26-   1,283.12
               2018 Hearing

                                                              Total: $2,157.74

                Mandatory Chambers Copies/Deliveries to the Court

 9/1/2017      Legal Support Network, LLC – Invoice # 81408            $ 49.00

 9/15/2017     Legal Support Network, LLC – Invoice # 82247            29.00

 9/15/2017     Legal Support Network, LLC – Invoice # 82246            173.46
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 11/17/2017             Legal Support Network, LLC – Invoice # 86027                   54.50

 10/20/2017             Legal Support Network, LLC – Invoice # 4294                    49.00

 11/10/2017             Legal Support Network, LLC – Invoice #85647                    286.52

 12/15/2017             Legal Support Network, LLC – Invoice # 87758                   90.00

 12/22/2017             Legal Support Network, LLC – Invoice # 88201                   177.94

 1/6/2018               Legal Support Network, LLC – Invoice # 88961                   177.94

 1/6/2018               Legal Support Network, LLC – Invoice # 88970                   58.50

 1/27/2018              Legal Support Network, LLC – Invoice # 90357                   32.97

 1/27/2018              Legal Support Network, LLC – Invoice # 90358                   55.50

 2/24/2018              Legal Support Network, LLC – Invoice # 92004                   182.92

 1/13/2018              Legal Support Network, LLC – Invoice # 150.96                  150.96

 10/20/2017             Legal Support Network, LLC – Invoice # 84289                   49.00

 1/13/2018              Legal Support Network, LLC – Invoice # 89182                   47.50

 3/17/2018              Legal Support Network, LLC – Invoice #93348                    45.50

 5/5/2018               Legal Support Network, LLC – Invoice # 96878                   455.50

 4/21/2018              Legal Support Network, LLC – Invoice # 95968                   55.00

 5/5/2018               Legal Support Network, LLC – Invoice # 96886                   112.50

 6/7/2018               Summit Reprographics – Invoice #102854                         495.83

 5/19/2018              Legal Support Network, LLC – Invoice # 98092                   99.00

                                                                                Total: $ 2,928.04




                                                                      2
   C:\Users\elzyalyukova\Desktop\VRS Tax Costs\Bill of Costs Itemization.docx
Case 2:16-cv-08559-DOC-DFM Document 173 Filed 11/21/18 Page 7 of 33 Page ID #:6964
                                                                            Santa Ana
                                                                                                                       1851 E. First Street
                                                                                                                                Suite 1600
                                                                                                                     Santa Ana, CA 92705
                                                                                                                    Phone: (714) 834-1340
                                                                                                                      Fax: (714) 834-1344


                                                  BILLING STATEMENT

        Michael Bradley Eisenberg Esq.                                             JW Tax ID: XX-XXXXXXX
        Holland & Knight, LLP                                                      Statement Date: 8/24/2018
        31 West 52nd Street                                                        Current Amount Due: ($2,227.50)
        New York NY 10019                                                          Payment Due: No Balance Due

        RE: JW Case No. A239329 - Spigen Korea Company, Ltd. vs. iSpeaker Company, Ltd., et al.
        Hearing                                                                    Neutral: Hon. Victor B. Kenton, Ret.
        1/26/2018 - 3/23/2018                                                      JW Case Manager: Heidi Adams
        Judicate West - Downtown LA, Los Angeles, CA

Posted          Reference                Description                                            Billed           Paid      Balance

1/9/2018        Inv 435260                Case Management Fee                                 $445.00                        $445.00
1/9/2018        Inv 435260                10 Hr. Retainer                                    $3,300.00                      $3,745.00
1/24/2018       Inv 436489                8 Hr. Hearing - 1/26/2018                          $2,640.00                      $6,385.00
1/30/2018       Chk 8200979               Payment Received                                                   $3,745.00      $2,640.00
2/13/2018       Inv 438232                7 Hr. Review/Preparation - 1/26/2018               $2,310.00                      $4,950.00
3/9/2018        Inv 440202                13 Hr. Special Master Services - 2/14/2018 -       $4,290.00                      $9,240.00
                                          3/6/2018
3/21/2018       Inv 441299                Case Management Fee                                 $195.00                       $9,435.00
3/21/2018       Inv 441299                7 Hr. Hearing - 3/23/2018                          $2,310.00                    $11,745.00
3/21/2018       Inv 441299                7 Hr. Hearing - 3/22/2018                          $2,310.00                    $14,055.00
4/3/2018        Chk 1129                  Payment Received                                                   $2,640.00    $11,415.00
4/3/2018        Chk 1129                  Payment Received                                                   $2,310.00      $9,105.00
4/3/2018        Chk 1129                  Payment Received                                                   $4,290.00      $4,815.00
4/3/2018        Chk 1129                  Payment Received                                                   $4,815.00          $0.00
8/24/2018       Credit Memo 558675        Credit Issued - Unused Retainer                                    $2,227.50    ($2,227.50)

                                                                                                         Now Due: ($2,227.50)




                                                  Remittance Instructions:
                             To pay online please visit: https://securepayment.link/judicatewest
                Please reference our case A239329 on your check made payable to Judicate West and mail to us at
                                     1851 East First Street, Suite 1600, Santa Ana, CA 92705
              JW Tax ID: XX-XXXXXXX. JW's W-9 is available online at www.JudicateWest.com/Resources/Forms
            * This statement represents your portion of our fees and any remaining balance is due immediately.

Any retainers billed are for additional time required including, but not limited to, review, preparation, and/or deliberation. Any unused
retainer will be refunded. If this matter is settled or canceled/continued before the session, fees are non-refundable, due upon notice,
and are the responsibility of the party(ies) requesting the change, unless the vacated time is filled with another matter. An additional
case management fee is due for multiple continuances by the same party.

                                               Thank you for Choosing Judicate West
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                                 #:6989
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